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                           UNITED STATES DISTRICT COURT

                          EASTERN DISTRICT OF LOUISIANA

LATIASHA SMITH WILLIAMS,                  *                Civil Action No. 20-01145
     Plaintiff                             *
                                           *
                                           *
VERSUS                                     *               District Judge:
                                           *                      Greg G. Guidry
                                           *
STATE OF LOUISIANA AND ITS                *
SUBDIVISION, THE LOUISIANA                *
DEPARTMENT OF PUBLIC SAFETY AND           *                Magistrate Judge:
CORRECTIONS, SECRETARY JAMES              *                      Janis van Meerveld
LEBLANC, WARDEN ROBERT TANNER              *
CAPTAIN BRINK HILLMAN, SERGEANT           *
GARY KING, SERGEANT JOHN CRAIN,           *
SERGEANT DUSTIN ROGERS AND                 *
JOHN DOES                                 *
      Defendants                           *
******************************************

                   SEVENTH 60-DAY STATUS REPORT REGARDING
                       STATUS OF CRIMINAL PROCEEDINGS

       In accordance with this Court’s Order dated October 22, 2020 (Rec. Doc 59), Defendants,

State of Louisiana, Department of Public Safety and Corrections, Secretary James LeBlanc, and

Warden Robert Tanner, through undersigned counsel, hereby provide this seventh 60-day status

report to advise this Honorable Court of the status of the criminal proceedings pending in

Washington Parish against Defendants, Brink Hillman, Gary King and John Crain.

       As of Defendants’ last status report, a pretrial conference in each of the criminal

proceedings was scheduled March 8, 2022, and trial was scheduled to commence March 21, 2022.

However, those dates were continued. At this time, a final pretrial conference in the Defendants’

respective criminal proceedings is scheduled April 5, 2022. The Defendants’ trials are scheduled

to commence April 25, 2022.
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       In accordance with this Court’s Order, undersigned counsel will provide an updated report

within sixty days to advise the Court whether the trials of Defendants, Hillman, King and Crain

will proceed on April 25, 2022.


                                            Respectfully submitted:

                                             JEFF LANDRY
                                             ATTORNEY GENERAL


                                             /s/ Allen J. Krouse, III
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                                             Attorneys for Defendants, State of Louisiana,
                                             Department of Public Safety and Corrections,
                                             Secretary James LeBlanc, and Warden Robert Tanner




                                  CERTIFICATE OF SERVICE

       I certify that on this the 28th day of March 2022, a copy of the above and foregoing

pleading has been served upon counsel of record for all parties via CM/ECF transmission through

the United States District Court for the Eastern District of Louisiana.

                                              /s/ Allen J. Krouse, III
